 Case: 1:13-cv-07142 Document #: 163 Filed: 07/26/17 Page 1 of 3 PageID #:7483

                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Gregory Schuring, et al.
                                Plaintiff,
v.                                                 Case No.: 1:13−cv−07142
                                                   Honorable Virginia M. Kendall
Cottrell, Inc., et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 26, 2017:


         MINUTE entry before the Honorable Virginia M. Kendall: Final pretrial
conference held on 7/20/17. Rulings are as follows: Defendant's Motion in Limine
Number 1, to Exclude Other Incidents (Dkt. 140) is taken under advisement; Defendant's
Motion in Limine Number 2, to Exclude Video Evidence of Other Drivers (Id.), is
granted; however, to the extent Plaintiffs' expert is being challenged about what he bases
his opinion on, he may testify that he relied on the videos, but the videos will not be
shown. Defendant's Motion in Limine Number 3, to Exclude Dr. Bergin's Testimony (Id.),
will not be granted on the basis that Dr. Bergin did not disclose his payment schedule;
however, if Plaintiffs have not done so already, Plaintiffs should verify that there is no
other payment agreement beyond the lien agreement already provided to Defendant so
that Defendant has a complete opportunity to cross examine Dr. Bergin regarding his
payment. Defendant's Motion in Limine Number 4 (Id.), to Bar Evidence of the Sure
Footing Safety System, is taken under advisement. Defendant's Motion in Limine Number
5, to Exclude Former Testimony of Prior Plaintiffs in Other Cases is granted. Defendant's
Motion Number 6, to preclude all parties from requesting to enter into a stipulation or for
evidence in front of the jury (Id.), is unopposed and granted. Defendant's Motion in
Limine Number 7, to Exclude Argument Regarding Equipment Inspections (Id.), is
withdrawn and therefore moot. Defendant's Motion in Limine Number 8, to Exclude
References to Other Litigation, Verdicts, or Settlements (Id.), is granted, however,
Plaintiffs are entitled to cross examine defense expert George Widas on previous cases he
has worked on. Defendant's Motion in Limine Number 9, to Exclude Reference to
Unrelated Claims of Defect (Id.), is unopposed and is granted. Defendant's Motion in
Limine Number 10, to Exclude Expert Opinions, Bases for Opinions, or Design Criticisms
Not Previously Disclosed is denied, consistent with the Court's previous opinions
permitting Dr. Gernon to testify to the factors that he used that can comprise the risk
utility test; to the extent that Defendant moves under Federal Rule of Civil Procedure 26
to prohibit any statement by an expert that was not disclosed during discovery other than
the one that you have, it is granted. Defendant's Motion in Limine Number 11, to Exclude
Reference to General Corporate Misconduct (Id.), is granted. For Defendant's Motion in
Limine Number 12, to Exclude Reference to Cottrell's Wealth or Profits, the Court takes
the issues of punitive damages under advisement; to the extent that Plaintiffs failed to
request any discovery relating to Defendant's wealth, Plaintiffs will have an uphill climb
Case: 1:13-cv-07142 Document #: 163 Filed: 07/26/17 Page 2 of 3 PageID #:7483

in arguing a relationship between wealth and injury, but at this time the Motion is taken
under advisement. Defendant's Motions in Limine 13, to Exclude Individual
Compensation of Cottrell Employees, Number 14 to Exclude Reference to the Size or
Specialization of the Law Firm of Cottrell's Counsel, 15 to Exclude Reference to Cottrell's
Insurance, and 16 to Exclude Reference to Settlement Negotiations, are all unopposed and
granted. (Id.) Defendant's Motion in Limine Number 17 to Exclude How Many Times
Cottrell Has Been Sued or How Many Times a Witness Has Testified Before this Trial
(Id.) is granted in accordance with Federal Rule of Evidence 403. Plaintiffs' Motion in
Limine Number 1 (Dkt. 141), to Bar Testimony on Collateral Source, is unopposed and
granted. Plaintiffs' Motion in Limine Number 2, to Bar Testimony or Evidence of
Previous Injuries to Schuring (Id.), is denied because Schuring's testimony is relevant
regarding his injury, his wearing of orthotics, and the impact this has on his ability to
move about the rig. Plaintiffs' Motion in Limine Number 3, to Bar Testimony and
Evidence of Schuring's Union Grievances (Id.), is denied because it is highly relevant
whether Schuring believed that he was working under dangerous conditions; however, the
parties shall not take a frolic and detour regarding union grievance procedures. Plaintiffs'
Motion in Limine Number 4, to Bar Testimony and Evidence Relating to the Employers
First Report of Injury (Id.), is denied because the testimony may come in if admitted for
purposes of notice to Defendant an injury occurred, a statement of a party opponent if the
proper foundation is laid down, and/or Defendant's expert is permitted to testify as to what
he relied on. Plaintiffs' Motion in Limine Number 5, to Bart Testimony and Evidence that
Plaintiffs' Experts Clarke Gernon or David Gibson have been Disqualified as an Expert in
Other Cases (Id.), is unopposed and granted. Plaintiffs' Motion in Limine Number 6, to
Bar Cottrell from Introducing George Widas' Report as Evidence, (Id.), is unopposed and
granted. Plaintiffs' Motion in Limine Number 7, to Bar Cottrell from Entering Evidence of
Making Argument Regarding Spoliation of Plaintiff's Shoes, is denied; the issue of
spoliation may not be used in opening statements, but if the facts that come out during
trial support a spoliation argument, then the testimony is admissible and relevant.
Plaintiffs' Motion in Limine Number 8, to Bar Cottrell from Entering Any Evidence that
Schuring Wears an Orthotic Device in his Work Shoes (Id.), is denied consistent with the
reasons stated in denying Plaintiffs' Motion Number 2. Plaintiffs' Motion in Limine
Number 9, to Bar Cottrell from Entering any Evidence that Schuring had a Previous Slip
at Height on an Auto Hauling Rig (Id.) is taken under advisement. Plaintiffs' Motion in
Limine Number 10, to Bar any Evidence, Testimony, Argument or Innuendo that
Plaintiffs Failed to Call any Equally−Available Witness at Trial (Id.) is unopposed and
granted. Plaintiffs&#0;39; Motion in Limine Number 11, to Bar any Questioning of
Schuring or Testimony from Expert Widas to the Effect that Schuring Walked up the
Back of the Head Ramp Following his Fall (Id.), is denied. Plaintiffs' Motion in Limine
Number 12, to Bar Evidence or Argument that Schuring Could be Fired for Unloading
Method (Dkt. 142), is denied; if the company has, and expects people to follow, safety
procedures, such testimony is permitted but Widas will not be permitted to speculate as to
the employer's state of mind. Plaintiffs' Motion in Limine Number 13, to Bar Improper
Usage of Evidence or Argument on Intentional misuse (Dkt. 143), is denied because
whether there was a misuse of the product is a fact dispute for the jury to resolve.
Plaintiffs' Motion in Limine Number 14, to Bar Evidence or Argument Shifting Duty to
Third Parties (Dkt. 144), is taken under advisement. Plaintiffs' Motion in Limine Number
15, to Admit Evidence of the Sure Footing System, is the reciprocal motion to Defendant's
Motion in Limine Number 4 and the same ruling applies. Mailed notice(ep, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Case: 1:13-cv-07142 Document #: 163 Filed: 07/26/17 Page 3 of 3 PageID #:7483

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